        Case 3:08-cr-00022-LC        Document 508           Filed 02/05/09        Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                 CASE NO. 3:08cr22 LAC

JAMES FREEMAN, DANIEL
CASTLEMAN, GARY LAKEY, MARVIN
LAMBERT, NEVILLE MCGARITY,
WARREN MUMPOWER, and RONALD
WHTIE

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on February 3, 2009
Motion/Pleadings: MOTION FOR AN ORDER DIRECTING THE COURT REPORTER TO
FILE AND PROVIDE TO THE PARTIES SEALED NON-REDACTED TRANSCRIPTS (IF
TRANSCRIPTS ARE ORDERED)
Filed by Government                    on 2/3/09    Doc.# 506

RESPONSES:
                                               on                        Doc.#
                                               on                        Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the    foregoing,       it    is     ORDERED      this   5 th   day   of
February, 2009, that:
(a) The relief requested is GRANTED.
(b)




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP                      s /L.A. Collier
Copies sent to:                                               LACEY A. COLLIER
                                                    Senior United States District Judge



                               Document No.
